












COURT OF 
APPEALS
SECOND DISTRICT OF TEXAS
FORT WORTH
&nbsp;
NO. 
2-03-322-CV

&nbsp; 
LEON 
VALENTIN &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;APPELLANT
&nbsp;
V.
&nbsp;
MELISSA 
LYNN VALENTIN&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 
APPELLEE

&nbsp; 
----------
&nbsp;
FROM 
THE 231ST DISTRICT COURT OF TARRANT COUNTY
&nbsp;
----------
&nbsp;
MEMORANDUM OPINION1 AND JUDGMENT
------------
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On 
November 12, 2003 and January 15, 2004, we notified appellant, in accordance 
with rule of appellate procedure 42.3(c), that we would dismiss this appeal 
unless the $125 filing fee was paid. See Tex. R. App. P. 42.3(c). Appellant has not paid the 
$125 filing fee. See Tex. R. App. P. 5, 12.1(b).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Because 
appellant has failed to comply with a requirement of the rules of appellate 
procedure and the Texas Supreme Court's order of July 21, 1998,2&nbsp;&nbsp; 
we dismiss the appeal. See Tex. R. App. P. 42.3(c), 43.2(f).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant 
shall pay all costs of this appeal, for which let execution issue. See Tex. R. App. P. 42.1(d).

&nbsp;&nbsp; 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;PER 
CURIAM

&nbsp;&nbsp; 
&nbsp;
PANEL 
D:&nbsp;&nbsp;&nbsp;WALKER, J.; CAYCE, C.J.; and MCCOY, J.
&nbsp;
DELIVERED: 
March 11, 2004


NOTES
1.&nbsp; 
See Tex. R. App. P. 47.4.
2.&nbsp; 
July 21, 1998 “Order Regarding Fees Charged In Civil Cases In The Supreme 
Court And The Courts of Appeals,” reprinted in Appendix to the Texas Rules of Appellate Procedure (Vernon 2003).



